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    ATTORNEYS FOR
  5 Sterling Savings Bank
  6
  7
  8                                 UNITED STATES BANKRUPTCY COURT
  9                                  NORTHERN DISTRICT OF CALIFORNIA
 10                                           SAN JOSE DIVISION
 11
      In re:                                           )   Case No.: 12-53651 ASW
 12                                                    )
      GALANTE, DENISE and THOMAS F.,                   )   CHAPTER 13
 13                                                    )
                                       Debtors.        )
 14                                                    )   STERLING SAVINGS BANK’S
                                                       )   OPPOSITION TO DEBTORS’ MOTION
 15                                                    )   FOR ORDER (I) VACATING ORDER
                                                       )   GRANTING RELIEF FROM
 16                                                    )   AUTOMATIC STAY AND (II) SETTING
                                                       )   ASIDE FORECLOSURE SALE OF REAL
 17                                                    )   PROPERTY
                                                       )
 18                                                        Date: October 1, 2012
                                                           Time: 2:30 p.m.
 19                                                        Location:
                                                             United States Bankruptcy Court
 20                                                           280 South 1st St.
                                                              San Jose, CA 95113
 21                                                        Judge: Honorable Arthur S. Weissbrodt
 22                                                    )
 23
                COMES NOW, Sterling Savings Bank, as successor in interest by merger to Sonoma
 24
      National Bank (“Sterling”) and submits this opposition to Thomas and Denise Galante’s (“Debtors”)
 25
      motion for order (I) vacating order granting relief from automatic stay and (II) setting aside
 26
      foreclosure sale of real property (“Motion”) as follows:
 27
      //
 28

           STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                      FROM AUTOMATIC STAY AND (II) SETTING ASIDE FORECLOSURE SALE OF REAL PROPERTY
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  1 I.         Introduction and Summary.
  2            Debtors’ Motion is based on Federal Rules Civil Procedure Rule 60(b)(1) and 60(b)(5)
  3 (hereinafter “FRCP”) based on the following grounds:
  4        1. The Court erred in determining that the automatic stay terminated on June 13, 2012 pursuant
  5            to 11 U.S.C. 362 (c)(3)(A) (hereinafter “Bankruptcy Code” or “Section”) and
  6        2. The Court should vacate the July 25, 2012 Order because it would be inequitable to enforce
  7            the order because Sterling:
  8                 a. Foreclosed on the property prior to entry of the written order in violation of Fed. Rule
  9                    Bankr. Proc. §9021 (“Bankruptcy Rule” or “Rule”); and
 10                 b. Violated Cal Civ. Code §2923.5.
 11
 12            Sterling asserts that Debtors’ allegations are without merit. Further, the Debtors have

 13 misstated the law or improperly misquoted the law. Sterling submits that contrary to the Motion,
 14 Sterling would be unfairly prejudiced if the Court granted Debtor’s any relief pursuant to the Motion.
 15 II.        Statement of Facts1.

 16            A.      Sterling’s Relationship With Debtors.

 17            Sterling is the holder of a Promissory Note payable by the Debtors Thomas F. Galante and

 18 Denise M. Galante (jointly “Debtors”) and by Jack C. Galante, Donna J. Galante, and Galante
 19 General Engineering, Inc. (“Non-Debtor Co-Borrowers”) in the amount of $1,507,500 (“Promissory
 20 Note.”) The Promissory Note is secured by a recorded Deed of Trust (and Assignment of Rents)
 21 against the Debtors’ real property located at 291 Barnard Avenue, San Jose, CA 95125, A.P.N. 455-
 22 23-087 (“Real Property”). Said Deed of Trust was recorded with the Santa Clara County Recorder’s
 23 Office on November 21, 2007 (Document # 19659812). The Real Property is not a personal
 24 residence (i.e. Debtors’ Schedules A, C, and D, Docket#30, pages 1, 5, and 6 respectfully).
 25            Debtors have not paid real property taxes for the Real Property to the Santa Clara County
 26
      1
 27    The majority of the facts set forth in the introduction are reflected in the Declaration of Patricia
      A. Kearns filed in support of Sterling’s Motion For Relief From Stay (Docket#10) and attached
      to the Declaration of William J. Healy as Exhibit A and Sterling requests the court take judicial
 28   notice of these declarations and of its own docket and related court files (Fed.Rule.Evid. 201).
          STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                            2 FORECLOSURE SALE OF REAL PROPERTY
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  1            Tax
  2 Assessor since 2009 and the balance of real property taxes owed for the Real Property is $19,855.67
  3 (as of May 31, 2012). Debtors have failed to make payments on the Promissory Note since June 2011
  4 (11 months pre-petition)(as of May 14, 2012 (“Petition Date”).
  5            On December 21, 2011, Sterling recorded a Notice of Default and indicated an outstanding
  6 amount of $80,953.48 as of December 26, 2011, plus outstanding real estate property taxes. On
  7 March 26, 2012, Sterling recorded its Notice of Trustee’s Sale, therein setting the Trustee’s Sale for
  8 April 16, 2012. The Trustee’s Sale was subsequently re-noticed and then held on July 20, 2012.
  9            As of the Petition Date, approximately $1,493,623.39 was due and owing to Sterling under
 10 the Promissory Note and Deed of Trust, as follows:
 11               Principal Balance:            $ 1,404,940.64
 12
                      Interest:                      $      40,855.66 (per diem $163.5889786)
 13
                      Late Charges:                  $      16,266.31
 14
                      Inspection/Appraisal Fees:     $       22,862.00
 15
                      Trustee Fees/Costs:            $        8,698.78
 16
                      TOTAL AMOUNT DUE:             $    1,493,623.39 (as of May 14, 2012)
 17
               A.     Debtors’ First Bankruptcy.
 18
               The Debtors filed their initial Chapter 13 bankruptcy (USBC (CA ND) #12-52777) on April
 19
      13, 2012 (“First Bankruptcy”). Debtors’ First Bankruptcy was dismissed on May 1, 2012 for
 20
      Debtors’ failure to comply with an order to file schedules and Debtors’ failure to file schedules2.
 21
               B.     Debtors’ Second Bankruptcy.
 22
               Debtors commenced this second bankruptcy on May 14, 2012 (“Second Bankruptcy”),
 23
      without the benefit of schedules. Pursuant to Section 362 (c)(3)(A) the stay shall terminate with
 24
      respect to the debtor on the 30th day after the filing of the later case–June 13, 2012.
 25
               C.     Debtors’ Motion to Extend Automatic Stay.
 26
 27   2
       In addition, on April 13, 2012, Non-Debtors Donna Galante and Jack Galante also filed a Chapter
      13 bankruptcy (USBC (ND CA) #12-52773) which was dismissed on May 1, 2012 for their failure
 28   to file schedules. All three bankruptcy were filed by the same law firm and attorney.
          STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                            3 FORECLOSURE SALE OF REAL PROPERTY
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  1             On June 5, 2012, Debtors filed a Motion to Continue the Automatic Stay As To All
  2 Creditors (Docket#17) and noted that Debtors “move the Court for an Order continuing the automatic
  3 stay with respect to all of Debtors’ creditors pursuant to Section 362(c)(3)(B) of the Bankruptcy Code.
  4 (Motion to Continue Stay, Docket#17, page 1, lines 22-23). Said motion was accompanied by a
  5 Notice of Opportunity to Object and for Hearing (Docket#18) which made specific reference to Local
  6 Rule 9014-1 of the United States Bankruptcy Court Northern District of California Local Rules
  7 (“Local Rules”).
  8             On June 15, 20123, Sterling filed a Request for Hearing and Opposition to Debtors’ Motion
  9 to Continue Stay (Docket#25) and, inter alia, specifically noted that Debtors’ motion must be denied
 10 because it cannot be heard within the required 30 days following the petition and therefore the stay
 11   automatically terminated on June 13, 2012" (Docket#25, page 3, line 21-page 4, line 26)4.
 12
                The Court’s docket does not appear to reflect a hearing on this motion, or any hearing on said
 13
      motion, and certainly no order granting the motion.
 14
                D.     The July 18, 2012 Hearing On Sterling’s Re-Notice of Hearing On Motion for
 15                    Relief from Automatic Stay.
 16
                On July 18, 2012, the Court held a hearing on Sterling’s Re-Notice of Hearing On Motion
 17
      For Relief From Automatic Stay which asserted, inter alia, that pursuant to 11 U.S.C. § 362(d)(1) and
 18
      (2)(A) and (B), there is cause for granting relief from stay, including but not limited to the failure to
 19
      pay real property taxes since 2009 and failure to make pre-petition payments since July 1, 2011, if
 20
 21   Debtors use Sterling cash collateral relative to rents on the Real Property, and Debtor’s proposed

 22   Chapter 13 Plan wherein Debtors propose to pay Sterling $4,254.52 (slightly more than half the

 23   monthly payment of $8,221.03), the lack of adequate protection, the lack of equity in the above

 24   described real property, Debtors cannot establish that the real property is necessary to effective

 25   reorganization, and pursuant to Bankruptcy Code §363 (c)(3)(A) the automatic stay terminated

 26
 27   3
          Significantly in advance of the time allowed under Local Rule 9014-1.
 28   4
          Sterling made similar representations in other filings (i.e. Docket#36-1/dated 7/3/12).
           STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                             4 FORECLOSURE SALE OF REAL PROPERTY
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  1 effective June 13, 2012.
  2             At the hearing the Court corrected summarized the factual history relative to Debtor’s First
  3 Bankruptcy, Second Bankruptcy, the absence of any order extending the stay pursuant to Section 362
  4 (c)(3)(A), and the statutory termination of the stay effective June 13, 2012. The Court did not rule on
  5 Sterling’s re-noticed motion for relief from stay.
  6             On July 25, 2012, the Court entered an Order on Motion for Relief From Stay wherein it
  7 noted:
  8                    “It is hereby ORDERED, ADJUDGED, AND DECREED as follows: 1.
  9                    Pursuant to Bankruptcy Code Section 363 © (3) (B) the automatic stay
                       terminated June 13, 2012.”
 10
 11             E.     Debtors Did Not Take Any Action Relative To the July 25, 2012 Order Prior
 12                    to Filing the Motion.
 13             At no time prior to the filing of the Motion (August 14, 2012-20 days after the order was

 14 entered) did the Debtors take any action relative to the July 25, 2012 order. Specifically, Debtors did
 15 not seek to shorten time on a Motion to Extend Stay or seek to expedite a hearing on a Motion to
               5
 16 Extend Stay , did not file an adversary proceeding and/or seek injunction relief pursuant to
 17 Bankruptcy Code 105, did not seek reconsideration pursuant to Bankruptcy Rule 9023, or file a
 18 notice of appeal pursuant to Bankruptcy Rule 8002 and an order staying the order.
 19 III.        Debtors’ Motion Must Be Denied As an Improper and Untimely Motion for
                Reconsideration and Purported Appeal.
 20
 21             Pursuant to Bankruptcy Rule 9023, which incorporates FRCP 59, a motion for
 22 reconsideration must be filed no later than ten (10) days after the entry of the judgment. Pursuant to
 23 Bankruptcy Rule 9023, Debtors had ten (10) days from July 25, 2012, to file a motion for
 24 reconsideration of the order. Debtors elected not to file such a motion and therefore the Court does
 25 not have jurisdiction to reconsider the order.
 26             Pursuant to Bankruptcy Rule 8002, Debtors had fourteen (14) days from the July 25, 2012
 27
 28   5
          Although such would have been moot pursuant to Section 362 (c)(3)(B).
           STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                             5 FORECLOSURE SALE OF REAL PROPERTY
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  1 Order On Motion For Relief From Stay to file a notice of appeal, or by August 8, 2012. Debtors
  2   elected to not timely or properly file a notice of appeal and therefore the Court does not have
  3   jurisdiction to consider what is tantamount to an appeal of the order.
  4   IV.      The Court Correctly Stated Bankruptcy Law Relative To Section 362 (c)(3)(A).
  5             A.     Debtor’s Motion Does Not Properly State the Law With Respect to
                       Section 362 (c)(3)(A).
  6
               The Court correctly stated the law that the automatic stay terminated on June 13, 2012 as an
  7
      operation of law pursuant to Section 362 (c)(3)(A). Debtors’ Motion contends that Court misstated
  8
      the application and scope of Section 362 (c)(3)(A) relative to the Debtors’ bankruptcy estate. In
  9
      support of Debtors’ argument they cite to two cases: (1) In re Perez, 2011 WL 6934471 *3 (Bankr.
 10
 11   App. 9th Cir. 2011) (hereinafter “Perez”)and (2) In re Engles, 193 B.R. 23, 26 (Bankr. S.D. Cal.

 12   1996) (hereinafter “Engles”).

 13            However, Perez and Engles do not support Debtors’ argument. In Perez, the court granted

 14   relief from stay in a Chapter 7, the debtor appealed without requesting a stay pending appeal and

 15   upon appeal the court determined the matter was moot. Otherwise, Perez simply references language

 16   of Section 362. In Engles, the court, as quoted by Debtors’ Motion, stated that in certain situations

 17   the debtor retains a “shadow of title” with which the debtor’s creditors cannot interfere. However,

 18   Debtor’s Motion misses the mark relative to Engles. In Engles, debtors’ property had been sold prior

 19   to the bankruptcy filing, the deed was never recorded, therefore the property remained titled in the

 20   debtors’ name, and because there was a “shadow of title” it was appropriate for the new owner to
 21   seek relief from stay before recording the deed.
 22            B.      California Bankruptcy Courts Have Addressed the Scope of the Termination
                       of the Stay Pursuant to Section 362 (C)(3)(A) and Such Is Consistent with the
 23                    Court’s Statement.
 24         California bankruptcy courts have dealt with the issue of the scope of the application of Section
 25
      362 (c)(3)(A)’s automatic termination of the stay. In In re Reswick, 446 BR 362 (Bankr. App. 9th Cir.
 26
      2011)(hereinafter “Reswick”) the United States Bankruptcy Appellate Panel of the Ninth Circuit
 27
 28 affirmed the underlying bankruptcy court’s (San Francisco Division) ruling that pursuant to Section

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  1 362 (c)(3)(A) the automatic stay terminated in its entirety (debtor and property of the estate) on the
  2
      30th day after the petition date if the debtor had not secured an order extending the stay pursuant to
  3
      Section 362 (c)(3)(B). Reswick conducted a substantial analysis of Section 362 (c)(3)(A), and related
  4
  5   sections, and of the majority and minority positions relative to this section taken by other courts. In

  6   adopting the ‘minority’ position, the court noted that the purpose of Section 362(c)(3)(A) is to
  7   discourage multiple filings. Therefore, the interpretation of the language "with respect to the debtor"
  8
      should not undermine the purpose of the provision, but rather be consistent with Congressional
  9
      intent.
 10
 11             Sterling recognizes that other bankruptcy courts have issued an opposite opinion. For

 12   example, in In re Rinard, 451 B.R. 12 ((U.S.B.C. (CD CA Riverside Division)(2011)), a Central
 13   District bankruptcy court adopted the ‘majority’ position that “with respect to the debtor” did not
 14
      include property of the estate. However, subsequently other bankruptcy courts in the Central District
 15
      have adopted the ‘minority’ view as set forth in Reswick (i.e. In re Hernandez, 2012 Bankr. LEXIS
 16
 17   1914 (Bankr. C.D. Cal. Jan. 31, 2012)).

 18             Notwithstanding Debtor’s Motion’s failure to reference Reswick or Rinard, or several similar
 19
      opinions throughout the United States, Sterling submits that the Court’s statement with respect to
 20
      Section 362(c)(3)(A) was and is correct and consistent with the opinion set forth in Reswick (and the
 21
      underlying bankruptcy court opinion it adopted).
 22
 23 V.          Debtors’ Motion Fails to Establish the Extraordinary Circumstances Necessary for the
                Court to Grant Relief by Motion Pursuant to Federal Rules of Civil Procedure 60(b)(1)
 24
                and 60(b)(5).
 25
 26       Debtors’ have failed to establish the extraordinary circumstances necessary for the court to grant
 27   relief under Federal Rules of Civil Procedure 60(b) (“FRCP”).
 28

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                                                          7 FORECLOSURE SALE OF REAL PROPERTY
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  1      FRCP 60(b)(1) and 60(b)(5) state, in pertinent part:
  2          “(b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion
             and just terms, the court may relieve a party or its legal representative from
  3          a final judgment, order, or proceeding for the following reasons: (1) mistake,
  4          inadvertence, surprise, or excusable neglect… (5) the judgment has been satisfied,
             released, or discharged; it is based on an earlier judgment that has been reversed
  5          or vacated; or applying it prospectively is no longer equitable.”

  6          The purpose of such relief under Rule 60(b) is to allow the court to strike a proper balance
  7 between two often conflicting principals- that litigation must be brought to a final close and that
  8
    justice must be done. See Gonzalez v Grosby, 545 U.S. 524,529-533 (2005), (noting that Rule
  9
    60(b)’s whole purpose is to make an exception to finality.) Relief should be granted only when the
 10
 11 moving party establishes the existence of extraordinary circumstances. Martinelli v. Valley Bank of
 12 Nevada (In re Martinelli), 96 B.R. 1011, 1013 (9th Cir. BAP 1988) (emphasis added) see also,
 13 Phuong Thi Nguyen v. Chang (In re Phuong Thi Nguyen), 2010 Bankr. LEXIS 5103 (B.A.P. 9th Cir.
 14
    Apr. 12, 2010). Moreover, an appeal from a denial of a Rule 60(b) motion brings up only the denial
 15
    of the motion for review, not the merits of the underlying judgment. Martinelli at 1013.
 16
 17          Rule 60(b) motions may not be used as a substitute for a timely appeal where the motions for

 18 reconsideration merely revisit the same issues already ruled upon by the trial court, or which advance
 19
      supporting facts that were otherwise available when the issues were originally briefed. Alexander v.
 20
      Bleau (In re Negrete), 183 B.R. 195, 197 (B.A.P. 9th Cir. Cal. 1995) see also R.E. Serv. Co. v.
 21
 22 Johnson & Johnston Assocs., 1995 U.S. Dist. LEXIS 22349 (N.D. Cal. Sept. 6, 1995) citing Skiver
 23 v. United States, 952 F.2d 1241, 1243 (10th Cir. 1991); Starr v. JCI Data Processing, Inc., 767 F.
 24 Supp. 633, 635 (D.N.J. 1991).
 25
             A. The Court’s Statement of the Law Relative to the Automatic Termination of The
 26          Stay Pursuant to Section 362 (c)(3)(A) Was Correct.
 27
             Debtors’ Motion purports to base its FRCP request for relief on the position that the Court
 28

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                                                          8 FORECLOSURE SALE OF REAL PROPERTY
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  1 erred with respect to the application and scope of the automatic termination of the bankruptcy stay
  2 set forth in Section 362 (c)(3)(A).
  3           Sterling submits that as discussed hereinabove, the Court correctly stated the law relative to
  4 Section 362 (c)(3)(A) such that Debtors’ Motion does not warrant any relief pursuant to FRCP 60.
  5           B. Sterling Did Not Violate Bankruptcy Local Rule 9021 and Therefore Debtors Are
  6           Not Entitled to Equitable Relief under Fed. R. Civ. P. 60(b)(5).

  7       Debtors’ Motion also argues that Sterling violated Federal Rule Bankr Proc. §9021 (“Rule
  8
      §9021”) and it would be inequitable for Sterling to benefit from the alleged violation.
  9
              However, Sterling did not violate Rule §9021 and even if it did violate Rule §9021 such
 10
 11 violation is a technical violation and one not applicable to the underlying situation. First, Rule 9021,
 12   which is based on FRCP 58, provides that every judgment in an adversary proceeding or contested
 13
      matter shall be set forth in a separate document and a judgment is effective when entered as provided
 14
      in Rule 5003.
 15
              However, an order pursuant to Rule 9021 was not required as the automatic stay
 16
 17 terminated not as a result of an adversary matter of contested matter, but simply as an operation of
 18   law. Second, the alleged violation of Rule 9021 was technical and not substantive. The stay had, as
 19
      explained at the hearing, on June 13, 2012, such that a written order simply stated an operation of
 20
      law. Third, equity weighs heavily against the Debtors based on their pre-petition (and post-petition)
 21
 22   failure to pay real property taxes associated with the Real Property, their pre-petition and post-

 23   petition failure to pay Sterling, the Debtors’ failure to timely assert and perfect any rights under
 24   Section 105, Section 362 (c)(3)(B), Bankruptcy Rule 9023, and Bankruptcy Rule 8002; to file a
 25
      bankruptcy that falls within the jurisdictional limits for a Chapter 13; to file correct and amended
 26
      schedules that accurately reflects Debtors’ assets and liabilities; to address Sterling’s position that
 27
 28   there was cause for granting relief from stay, including but not limited to the failure to pay real

        STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                          9 FORECLOSURE SALE OF REAL PROPERTY
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 1 property taxes since 2009 and failure to make pre-petition payments since July 1, 2011, Debtors
 2
     unauthorized use Sterling cash collateral relative to rents on the Real Property (pre and post-petition),
 3
     and Debtor’s proposed Chapter 13 Plan wherein Debtors propose to pay Sterling $4,254.52 (slightly
 4
 5 more than half the monthly payment of $8,221.03), the lack of adequate protection, the lack of equity
 6 in the Real Property; and that Sterling has completed the trustee’s sale, must proceed to evict the
 7 tenant (not described in Debtor’s schedules), and somehow try to recover the lost rents not paid by
 8
     the current tenant while it tries to market and sell the Real Property.
 9
             C. Debtors’ References to Cal.Civil.Code §2923.5 Are Completely Misplaced, Not
10           Applicable to Debtors, Sterling, And Commercial Property and Not the Basis for
11           Equitable Relief.
12
13                  1). Cal.Civil.Code §2923.5 Does Not Apply to Debtors’ Commercial Property.

14      Debtors’ Motion references Cal. Civ. Code §2923.5 (“Section 2923.5") as the basis for an

15 argument that Sterling cannot foreclose on a mortgagor’s property until 30 days after initially
16
     attempting to contact the mortgagor in order to assess the borrower’s financial situation and explore
17
     options for the borrower to avoid foreclosure.
18
19           However, such rule only applies to owners occupied residential property. Section 2923.5 (I)

20 states:
21                  “(I) This section shall apply only to mortgages or deeds of trust
                    recorded from January 1, 2003, to December 31, 2007, inclusive, that
22                  are secured by owner-occupied residential real property containing no
                    more than four dwelling units. For purposes of this subdivision,
23                  "owner-occupied" means that the residence is the principal residence
                    of the borrower as indicated to the lender in loan documents.”
24
25      Although Debtors Motion does not provide any related evidence, the Court’s docket is full of
26
     evidence that the Real Property is not Debtors’ residence and is commercial property. In this regard,
27
     although Debtors’ Motion and schedules present little recognition of a business operation at the Real
28

       STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                        10 FORECLOSURE SALE OF REAL PROPERTY
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                                               12
 1 Property, Debtors’ Schedule A identifies the Real Property as “Business Property” and another
 2
     property as their residence (similar references are included in Schedule C (Docket#30, page 5) and
 3
     Schedule D (Docket#30, page 6)6.
 4
          Therefore, although Debtors’ Motion does not address Section 2923.5 (I), the argument
 5
 6 regarding the application of Section 2923.5 is without merit.
 7                   2). Section 2923.5 Also Does Not Apply While a Bankruptcy Is Pending.
 8
              In addition, Section 2923.5 (h) specifically provides that subsections (a) and (g) do not apply
 9
     if a bankruptcy has been filed and the bankruptcy court has not entered an order closing or dismissing
10
11 the bankruptcy case or granting relief from stay of foreclosure.
12            Therefore, although Debtors’ Motion does not address Section 2923.5 (h), the argument
13 regarding the application of Section 2923.5 is without merit.
14
                  3). The Bankruptcy Court Does Not Have Jurisdiction Over Debtor’s Claimed
15
                  Remedy and Debtors’ Claimed Remedy Does Not Exist.
16                        a) Debtors’ Motion Has Not Established That the Bankruptcy Court Has
17                           Jurisdiction Over A Claim Based on Section 2923.5.
18            Debtors’ Motion asserts they have a claim for relief based on an alleged violation of Section
19
     2923.5, but does not address whether the Bankruptcy Court has jurisdiction, and jurisdiction by way
20
     of a motion. Sterling submits that Debtors’ Motion has the burden to establish the Bankruptcy Court
21
     has jurisdiction, and pursuant to a motion, to consider Debtors’ claim for relief for an alleged
22
23 violation of Section 2923.5. Sterling submits the Bankruptcy Court does not have jurisdiction, and
24 jurisdiction by motion, to consider Debtors’ claim for relief based on an alleged violation of Section
25
     2923.5.
26
27
     6
      The Court is requested to take judicial notice of Debtors’ schedules and the court files (FRE
28   201)(Schedule A/Docket#30, page 1 and Schedule D/Docket#30, page 6)
         STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                          11 FORECLOSURE SALE OF REAL PROPERTY
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                                                12
 1                          b). California Law Requires Debtors to Pay the Debt As a Condition
 2                          Of Pursuing an Action to Set Aside a Trustee’s Sale.
 3          Pursuant to California law, in an action to set aside a trustee’s sale based on alleged

 4 irregularities in the sale, a plaintiff must demonstrate that he has made a valid and viable tender offer
 5
     of payment of the indebtedness. (Pantoja v. Countrywide Home Loans, Inc., 640 F. Supp 1177, 1183-
 6
     84 (N.D. Cal. 2009)--See also, Alcaraz v. Wachovia Mortgage FSB, 592 F. Supp. 2d 1296, 1304
 7
 8 (E.D. Cal. 2009), Arnolds Mgmt. Corp. V. Eischen, 158 Cal.App.3d 575, 580 (1984), and Abdallah
 9 v. United Savs. Bank, 43 Cal.Ap.4th 1101, 1109 (1996)).
10          Debtors have not made such a demonstration and based on Debtors’ consistent failure to pay
11
     Sterling (pre and post-petition) and honor Sterling’s cash collateral rights relative to rents on the Real
12
     Property, it is extremely unlikely Debtors could ever make such a demonstration.
13
14 VI.      Conclusion.

15          For all of the foregoing reasons, Sterling submits that the Motion must be denied.
16 Dated: September 17, 2012                                        CAMPEAU GOODSELL SMITH
17                                                                  /s/ William J. Healy
                                                                    William J. Healy
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       STERLING SAVINGS BANK’S OPPOSITION TO DEBTORS’ MOTION FOR ORDER (I) VACATING ORDER GRANTING RELIEF
                                                        12 FORECLOSURE SALE OF REAL PROPERTY
                  FROM AUTOMATIC STAY AND (II) SETTING ASIDE
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